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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

MELINDA SELDEN,                     :
                                    :
                        Plaintiff,  :
                                    :
v.                                  :               Civil Case No. 1:23-cv-00933-AJT-WEF
                                    :
LENDING CLUB CORP.,                 :
                                    :
                        Defendant.  :
____________________________________:


                   STIPULATION OF DISMISSAL WITH PREJUDICE
                          AS TO LENDINGCLUB CORP.

       Plaintiff, by counsel and with the signature of counsel for LendingClub Corp., stipulates

to the dismissal with prejudice of all claims in this matter under Federal Rule of Civil Procedure

41(a)(1)(A)(ii). The parties also stipulate to the Court retaining jurisdiction for purpose of

enforcement of the settlement agreement pursuant to Kokkonen v. Guardian Life Ins. Co., 511

U.S. 375 (1994).

AND THIS CAUSE IS ENDED.

DATED: October 26, 2023                          Respectfully submitted,

   /s/ Kristi C. Kelly                           By:__/s/ Ethan G. Ostroff.________
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                                                                                 10/26/2023
